Case 1:17-mc-00151-LPS          Document 629        Filed 06/23/23       Page 1 of 3 PageID #: 15456




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

      CRYSTALLEX INTERNATIONAL                      §
      CORPORATION,                                  §
                                                    §
           Plaintiff,                               §
                                                    §
           v.                                       §    C.A. No. 1:17-mc-00151-LPS
                                                    §
      BOLIVARIAN REPUBLIC OF                        §
      VENEZUELA,                                    §
                                                    §
           Defendant.                               §


                     BANCO SAN JUAN INTERNACIONAL’S RESPONSE
                TO QUESTIONS IN THE COURT’S ORDER DATED JUNE 21, 2023

          Pursuant to this Court’s June 21, 2023 Order, D.I. 615, Banco San Juan Internacional

  (“BSJI”), as an interested entity, 1 submits this response to the Court’s Question Nos. 4 and 5 in

  the Order.

          As previously detailed, BSJI holds final, conclusive, and enforceable money judgments

  issued by the Commercial Court of England and Wales against Petróleos de Venezuela S.A. and

  its operating subsidiary PDVSA Petróleo, S.A., which currently owe BSJI almost $101 million.

  D.I. 575, at 1; D.I. 606, at 1–2. These judgments should be considered “Additional Judgments”

  under the Sale Procedures Order. 2 D.I. 575, at 2; D.I. 606, at 3–4.

          Response to Question No. 4: The Special Master need not know which judgments are

  Additional Judgments for purposes of the sale process until reasonably before (i.e., two weeks in

  advance of) the deadline by which the Special Master must file his “recommendation with the


  1
   The Court’s Order permits “any other interested entity” to answer the questions posed. D.I. 615,
  at 1.
  2
    Capitalized terms used but not otherwise defined herein shall bear the meaning ascribed to such
  terms by D.I. 481, this Court’s Sale Procedures Order.


  MDSU W0381874.v1
Case 1:17-mc-00151-LPS          Document 629         Filed 06/23/23      Page 2 of 3 PageID #: 15457




  Court seeking final determination of any Attached Judgment,” under the Sale Procedures Order.

  D.I. 481, ¶ 31. This timeline will not adversely affect the Special Master’s ability to obtain a

  value-maximizing transaction, especially because the Special Master will already know soon

  after the Preparation Launch Date the amounts that creditors claim with respect to their

  judgments. D.I. 481, ¶ 32.

         BSJI’s position is this regard is consistent with the Special Master’s approach because it

  allows as many judgments as possible against Venezuela to be included in the sales process. See

  D.I. 593, ¶ 5 (Special Master’s submission stating that “it seems both logical and in the best

  interests of all parties to include as many judgments against the Venezuela Parties as permissible

  under applicable law”). BSJI’s position also promotes efficiency by precluding the need for this

  Court to engage in yet-another sale procedure. A premature cutoff date has the potential of

  undermining the purpose of the sale and unnecessarily putting assets out of the reach of

  legitimate creditor claims.

         Response to Question No. 5: Paragraphs 15 and 47 of the Sale Procedures Order do not

  conclusively resolve whether a party whose judgment is added as an Additional Judgment must

  pay (i) pro rata or per capita (ii) fees and expenses retroactive to the beginning of the Special

  Master’s work or prospectively beginning on the date the party’s judgment is made an Additional

  Judgment.

         BSJI should cover only its pro rata share of any fees and expenses incurred beginning on

  the date BSJI’s judgments are made Additional Judgments. BSJI should not be made to pay any

  fees and expenses incurred before its judgments are made Additional Judgments because it has

  not been involved or had any say in any of the Special Master’s activities to implement the sale

  process. Nothing in the Sale Procedures Order mandates that BSJI pay fees and expenses



                                                    2
  MDSU W0381874.v1
Case 1:17-mc-00151-LPS             Document 629     Filed 06/23/23       Page 3 of 3 PageID #: 15458




  incurred before its judgments are added as Additional Judgments. Further, it is not reasonable to

  expect creditors seeking billions of dollars of assets to bear the same expenses as those seeking

  only a small fraction thereof.

         For the foregoing reasons, BSJI respectfully requests that this Court find that (1) the

  Special Master need not know with certainty which Additional Judgments are to be added until

  reasonably before the deadline for the Special Master to file his recommendation in accordance

  with paragraph 31 of the Sale Procedures Order and (2) BSJI will pay a pro rata share of any fees

  and expenses incurred beginning on the date BSJI’s judgments are added as Additional

  Judgments.



                                                       MCCOLLOM D’EMILIO SMITH
                                                       UEBLER LLC
   WINSTON & STRAWN LLP
                                                       /s/ Thomas A. Uebler
   Paula W. Hinton                                     Thomas A. Uebler (#5074)
   M. Imad Khan                                        Adam J. Waskie (#6217)
   Rachael E. Thompson                                 Terisa A. Shoremount (#7113)
   800 Capitol St., Suite 2400                         2751 Centerville Rd., Suite 401
   Houston, TX 77002                                   Wilmington, DE 19808
   Phone: (713) 651-2600                               Phone: (302) 468-5960
   Fax: (713) 651-2700                                 Fax: (302) 691-6834
   phinton@winston.com                                 tuebler@mdsulaw.com
   ikhan@winston.com                                   awaskie@mdsulaw.com
   rthompson@winston.com

   Kelly A. Librera
   200 Park Avenue
   New York, NY 10166
   Phone: (212) 294-6700                               Attorneys for Banco San Juan
   Fax: (212) 294-4700                                 Internacional, Inc.
   klibrera@winston.com

   June 23, 2023




                                                   3
  MDSU W0381874.v1
